          Case 2:09-cr-00392-WBS Document 78 Filed 06/08/12 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   R. STEVEN LAPHAM
     Assistant U.S. Attorney
 3   PETER WILLIAMS
     Special Assistant U.S. Attorney
 4   501 I Street, Suite 10-100
     Sacramento, California 95814
 5   Telephone: (916) 554-2724
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  )      CR. NO. S-09-392 EJG
12              Plaintiff,        )
                                  )
13       v.                       )      STIPULATION AND ORDER
                                  )      CONTINUING STATUS CONFERENCE
14   MUHAMMAD INAYAT,             )      RE: JUDGMENT AND SENTENCING
     ISA CHICAGO WHOLESALE,       )
15                                )       Date: 6/08/12
               Defendant.         )       Time: 10:00 a.m.
16   _____________________________)      Court: Courtroom 8
17
18        IT IS HEREBY stipulated between the United States of America
19   through its undersigned counsel, Assistant United States Attorney R.
20   Steven Lapham, and defendant MUHAMMAD INAYAT and ISA CHICAGO
21   WHOLESALE, through their undersigned counsel, Jay L. Kanzler, that
22   the judgment and sentencing presently set for June 8, 2011 at 10:00
23   a.m. be continued to September 7, 2012 at 10:00 a.m.
24        Both sides request this continuance so that the defendants may
25   provide additional assistance to the government prior to being
26   sentenced.   The continuance is also requested to permit the probation
27   officer to complete her Presentence Report.       Both parties are mindful
28   of the numerous continuance that have already been granted but

                                           1
          Case 2:09-cr-00392-WBS Document 78 Filed 06/08/12 Page 2 of 2


 1   represent that, if the current request is granted, no further
 2   continuance will be necessary and that, barring any unforseen
 3   developments, sentencing should go forward on September 7, 2012.
 4
 5   IT IS SO STIPULATED.
 6   Dated: June 6, 2012                /s/ Jay L. Kanzler
                                           JAY L. KANZLER
 7                                         Attorney for Defendants
                                            Muhammad Inayat and
 8                                          ISA Chicago Wholesale
 9
     Dated: June 6, 2012                      BENJAMIN B. WAGNER
10                                            United States Attorney
11
                                        by:     /s/ R. Steven Lapham
12                                            R. STEVEN LAPHAM
                                              Assistant U.S. Attorney
13
14
15                                    O R D E R
16
     IT IS SO ORDERED.
17
     Dated: June 7, 2012              /s/ Edward J. Garcia
18                                    HON. EDWARD J. GARCIA
                                      Senior United States District Judge
19
20
21
22
23
24
25
26
27
28

                                           2
